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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )               CASE NO. 8:12CR282
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )            TENTATIVE FINDINGS
                                               )
CHRISTINA ASHLEY RAMIREZ,                      )
                                               )
               Defendant.                      )

       The Court has received the Revised Presentence Investigation Report (“PSR”) in

this case. The parties adopted the PSR (Filing Nos. 345 and 365.) The Defendant filed

a motion for variance (Filing No. 366). See Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are

advisory.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
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      3.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final;

      4.     The Defendant’s Motion for Variance and Memorandum (Filing No. 366) will

be heard at sentencing; and

      5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 1st day of July, 2013.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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